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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE

VICTOR COFFIN,                            )
                                          )
                     Plaintiff,           )
                                          )
v.                                        )      Docket No. 2:18-cv-472-NT
                                          )
AMETEK, INC., ET AL.,                     )
                                          )
                     Defendants.          )
                                          )



       LOCAL RULE 56(H) PRE-FILING CONFERENCE REPORT AND ORDER

        A conference was held on Monday, March 2, 2020, at 2:00 p.m.

Presiding:           Nancy Torresen, United States District Judge

For Plaintiff:       Jason T. Shipp, Joseph Cirilano, Kevin M. Noonan

For Defendant Honeywell International Inc.: Stephen C. Whiting

For Defendant Maine Central Railroad:         Glen L. Porter, Jason C. Barrett

        In accordance with the procedural order issued on February 3, 2020 (ECF No. 75), I

held a Local Rule 56(h) conference with counsel on March 2, 2020, during which the

decision was made to proceed first with the Defendants’ motions to exclude expert

testimony. I issued an Order on those motions on September 16, 2020 (ECF No. 108). The

same day, I directed the parties to propose a briefing schedule for the summary judgment

motions (ECF No. 109), and I now adopt the schedule proposed by the Defendants. (ECF

Nos. 110 and 111).

        The following items were discussed at the March 2 conference:
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1. Bases for Proposed Motions for Summary Judgment: Both Defendant
   Honeywell International (“Honeywell”) and Defendant Maine Central Railroad
   (“MCRR”) intend to move for summary judgment on all counts against them.
   Honeywell lists six bases for summary judgment, arguing that the Plaintiff cannot
   prove causation for any of the common law tort claims and cannot prove that
   Honeywell failed to warn about the asbestos hazards of its products. MCRR also
   lists six bases for summary judgment, arguing in part that the Plaintiff cannot prove
   causation or breach of duty.

2. Estimated Memorandum Length: The Defendants’ summary judgment motions
   each shall not exceed 20 pages.

3. Estimated Factual Statement Length: Defendant Honeywell estimates that its
   statement of fact will include approximately 40 paragraphs. Defendant MCRR
   estimates that its statement of fact will include approximately 75 paragraphs.

4. Filing of the Record: The parties shall confer to determine the summary judgment
   record. The record shall consist of the universe of documents that any party may
   cite to in their motions or statements of fact. The record shall be filed on ECF in
   advance of the filing of any motion, response or statement of fact and the parties
   shall make the appropriate citations to the record (see paragraph 5 outlining
   citations to the record). The ECF event “Local Rule 56(h) Record” can be found in
   the “other documents” category of the “civil events” listing on ECF.

   If during the motion practice any party determines that they need to supplement
   the record, they may file a supplemental record, but shall not duplicate any record
   material already on the docket. Any supplemental record shall be filed on ECF in
   advance of the filing of any pleading so that the appropriate citations to the record
   can be made.

5. Citations to the Record: Filing the record in ECF in advance of the filing of any
   pleadings will generate ECF document numbers and page ID numbers. When citing
   documents from the record in statement of material facts, counsel should cite to the
   record with the appropriate ECF document and page ID numbers.

   Example: (Smith Affidavit, ¶1; Doc. 52-28, #566)

6. Cooperation of Counsel on Factual Statement: By the conclusion of the
   briefing, it is the Court’s preference to have one document that contains the full text
   of all the facts, admissions, denials, qualifications, and requests to strike produced
   by all parties. The Court expects the parties to work collaboratively in this endeavor.
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          1. All admissions, denials, qualifications, and requests to strike shall appear
             under the text of the proposed fact to which they refer.

          2. A request to strike shall be preceded by an admission, denial, or qualification,
             in case the request to strike is denied.

          3. All responses to requests to strike shall appear under the text of the request
             to strike to which they refer.

          4. The parties’ various statements of material facts should utilize a single,
             continuous sequence of paragraph numbers.

          5. In accordance with Local Rule 56(d), the Defendant’s reply statement of
             material fact should address only the Plaintiff’s additional facts and requests
             to strike.

The following sequence should take place when compiling the factual statements:

         •   First, each Defendant shall file a “Defendant’s Supporting Statement of
             Material Facts,” pursuant to Local Rule 56(b). This includes a numbered list
             of facts the Defendant contends are supported by the record and undisputed.

                      The PDF version should be filed on ECF using the “Statement of
                       Fact” event, which can be found in the “other documents” category
                       of the “civil events” listing on ECF.

                      Each Defendant shall email the Plaintiff a Word version of its PDF
                       document.

         •   Second, the Plaintiff shall file a “Plaintiff’s Opposing Statement of Material
             Facts,” pursuant to Local Rules 56(c) and Local Rule 56(e), for each
             Defendant’s statement. These documents shall reproduce the text of the facts
             proposed by the Defendants. The Plaintiff shall add appropriate admissions,
             denials, and qualifications, and, if necessary, requests to strike under each
             fact. Second, the Plaintiff may add a list of additional facts that the Plaintiff
             contends are supported by the record, keeping with the same paragraph
             sequence numbering (i.e. if the Defendant’s Statement of Material Fact ended
             at paragraph number 50, the Plaintiff shall start with paragraph number 51
             for his Statement of Additional Facts).




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                   The PDF versions should be filed on ECF using the “Response to
                    Statement of Fact with Additional Facts” event, which can be found
                    in the “responses and replies” category of the “civil events” listing
                    on ECF.

                   The Plaintiff shall email each Defendant a Word version of the
                    relevant PDF document.

      •   Third, each Defendant shall file a “Defendant’s Reply Statement of Material
          Facts,” pursuant to Local Rules 56(d) and 56(e). This document shall
          reproduce the text of the facts proposed by the Defendant and the Plaintiff’s
          corresponding admissions, denials, qualifications, and requests to strike, as
          well as the text of the Plaintiff’s additional facts. The Defendant must add
          appropriate admissions, denials, qualifications, and, if necessary, requests to
          strike under each of the Plaintiff’s additional facts. In addition, the Defendant
          may respond to any of the Plaintiff’s requests to strike.

                   The PDF version should be filed on ECF using the “Reply to
                    Additional Statement of Fact” event, which can be found in the
                    “responses and replies” category of the “civil events” listing on ECF.

                   The Defendants shall email the Plaintiff Word versions of these
                    PDF documents.

      •   Fourth, the Plaintiff may file a “Plaintiff’s Response to Defendant’s Requests
          to Strike,” pursuant to Local Rule 56(e), for each Defendant. This document
          shall reproduce the text of the Defendant’s facts, the Plaintiff’s additional
          facts, all admissions, denials, and qualifications, all requests to strike, and
          the Defendant’s responses to Plaintiff’s requests to strike. The Plaintiff may
          add only appropriate responses under each of the Defendant’s requests to
          strike. This document should be a complete account of the parties’ factual
          statements.

                   The PDF version should be filed on ECF using the “Response to
                    Request to Strike Per LR 56(e)” event, which can be found in the
                    “responses and replies” category of the “civil events” listing on ECF.

                   This fourth step only takes place in the event the Defendants have
                    made requests to strike the Plaintiff’s Additional Facts. If no
                    requests to strike the Plaintiff’s Additional Facts are made, the
                    briefing is complete at the third step.
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       In accordance with the Defendants’ proposed briefing schedule, I now ORDER that

the Defendants’ motions for summary judgment shall be filed by October 30, 2020. Plaintiff

shall file his opposition to the Defendants’ motions on or before November 30, 2020. The

Defendants shall file their replies by December 14, 2020. If necessary, the Plaintiff may

file a response to any requests to strike from the Defendants by December 21, 2020.


SO ORDERED.

                                                /s/ Nancy Torresen
                                                United States District Judge

Dated this 25th day of September, 2020.




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